         Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 1 of 52




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15 and Linda Johnson Rice

16
                                UNITED STATES DISTRICT COURT
17
                              NORTHERN DISTRICT OF CALIFORNIA
18

19
   IN RE TESLA, INC. SECURITIES                Case No. 3:18-cv-04865-EMC
20 LITIGATION
                                               DEFENDANTS’ FILING OF DEPOSITION
21                                             DESIGNATIONS AND IMPEACHMENT
                                               CLIPS PLAYED DURING TRIAL
22

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                                                                      Case No. 3:18-cv-04865-EMC
     n
                                                DEPOSITION DESIGNATIONS PLAYED DURING TRIAL
      Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 2 of 52




 1          During trial in the above captioned action, Defendants played portions of videotaped

 2 depositions. The trial court reporters indicated that they do not transcribe the videos and similarly

 3 do not attach transcripts of the testimony played in the videos to the court reporters’ daily trial

 4 transcripts. Accordingly, to create a complete record, Defendants have attached hereto transcripts

 5 of the deposition designations and impeachment clips Defendants played at trial:

 6                Exhibit A hereto: Excerpts from the deposition of Glen Littleton
 7                Exhibit B hereto: Excerpts from the deposition of Timothy Fries
 8                Exhibit C hereto: Excerpts from the deposition of Nii Koney
 9
     DATED: February 3, 2023              Respectfully submitted,
10
                                          QUINN EMANUEL URQUHART & SULLIVAN, LLP
11

12                                        By: /s/ Alex Spiro
                                             Alex Spiro (appearing pro hac vice)
13
                                             Attorneys for Tesla, Inc., Elon Musk, Brad W. Buss,
14
                                             Robyn Denholm, Ira Ehrenpreis, Antonio J. Gracias,
15                                           James Murdoch, Kimbal Musk, and Linda Johnson Rice

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                                                     -1-                   Case No. 3:18-cv-04865-EMC
                                                     DEPOSITION DESIGNATIONS PLAYED DURING TRIAL
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               Exhibit A
                  Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 4 of 52
Deposition of Glen Littleton                                                 In Re Tesla, Inc. Securities Litigation


   1

   2

   3                     UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
   4

   5                                               Case No. 18-cv-04856-EMC
   6                                                                                      :
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   7                                                                                      :
                                                                                          :
   8                                                                                      :
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   9                                                                                      :
                                                                                          :
 10                                                                                       :
              IN RE: TESLA, INC., SECURITIES                                              :
 11           LITIGATION                                                                  :
                                                                                          :
 12                                                                                       :
                                                                                          :
 13                                                                                       :
                                                                                          :
 14                                                                                       :
                                                                                          :
 15
                        -------------------------------------
 16                     DEPOSITION UNDER ORAL EXAMINATION OF:
                                    GLEN LITTLETON
 17                                 March 31, 2022
                                    -----------
 18              REPORTED BY: JENNIFER L. WIELAGE, CCR, RPR, CRR
                                   ------------
 19

 20

 21
            JOB # 12108
 22

 23

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                                  215-341-3616 transcripts@everestdepo.com
                                         Everest Court Reporting LLC                                        Page: 1
                  Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 5 of 52
Deposition of Glen Littleton                                                 In Re Tesla, Inc. Securities Litigation


   1




 24                        Q.      Sure.        You told us previously that
 25         prior to that August 24 blog post, that you didn't

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                                         Everest Court Reporting LLC                                     Page: 143
                  Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 6 of 52
Deposition of Glen Littleton                                                 In Re Tesla, Inc. Securities Litigation


   1        see anything between August 7th and August 24th that
   2        changed your mind that the go-to private transaction
   3        at 420 per share was a done deal?
   4                       A.      No, that's --
   5                       Q.      Is that right?
   6                       A.      That's correct, yes.
   7                       Q.      Is it also correct that you didn't
   8        see anything then prior to August 24th that changed
   9        your mind that the funding was secure?
 10



 12                        A.      You know, I can't recall.                        I really
 13         don't recall.          There was an awful lot of news about
 14         it.        There were an awful lot of opinion pieces.                                  And
 15         sometimes it's hard to separate these opinion, pieces
 16         in the Wall Street Journal and the Bloomberg, from a
 17         report -- a reporting article.                         So I can't recall.
 18                        Q.      Would you have thought that the go-to
 19         private transaction at 420 per share was a done deal
 20         if you did not think funding was secure?
 21

 22                        A.      I wish -- you're doing your job.
 23         You're trying to ask a question in many different
 24         ways.
 25                                I revert back to my talking points --

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                                         Everest Court Reporting LLC                                     Page: 144
                  Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 7 of 52
Deposition of Glen Littleton                                                 In Re Tesla, Inc. Securities Litigation


   1        not talking point, but my fundamental belief that
   2        420, funding was secured.                    That's what I based my
   3        actions on.         That's why I liquidated everything and
   4        why I felt like I had to.
   5                       Q.      Why did you refer to that as your
   6        talking points?
   7                       A.      Because that's what I based all of my
   8        decisions on.




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                                         Everest Court Reporting LLC                                     Page: 145
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               Exhibit B
        Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 9 of 52

                                                                          Page 1
·1· · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · ·FOR THE NORTHERN DISTRICT OF CALIFORNIA

·3

·4· ·In Re: Tesla, Inc., Securities )

·5· ·Litigation.· · · · · · · · · · ) No. CV-18-04865-EMC

·6· · · · · · · · · · · · · · · · · )
· · ·________________________________
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10· · · · · · · · · · · September 23, 2022

11· · · · · · · · · · · 11:16 a.m.

12· · · · · · · · · · · Flemington, New Jersey

13

14· · · · · · REMOTE VIDEOTAPE DEPOSITION OF

15· · · · · · TIMOTHY FRIES (On behalf of Plaintiffs)

16

17· · · · · · Taken on behalf of the Defendant before

18· ·Michael J. D'Amato, RMR, Notary Public in and for the

19· ·State of Florida at Large, pursuant to Notice of Taking

20· ·Deposition in the above cause.

21

22

23

24

25· ·Job # 217595


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       Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 10 of 52

                                                                          Page 57
·1· · · ·




25· · · ·Q.· ·Now, I talked to you about what you thought
       Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 11 of 52

                                                                          Page 58
·1· ·vetted meant.· Can you tell me your understanding of
·2· ·what the process of vetting would have looked like?
·3· ·That is, what would you think would have been done to
·4· ·vet?
·5· · · ·A.· ·Just Tesla and Elon ensuring that the finances
·6· ·that were stated were available.
·7· · · ·Q.· ·Did you have any understanding as to how Tesla
·8· ·or the board of directors of Tesla would go about doing
·9· ·that?
10· · · ·A.· ·No.
       Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 12 of 52

                                                                          Page 63
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25· · · ·Q.· ·So I'm asking, did you take anything from this
       Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 13 of 52

                                                                          Page 64
·1· ·as to whether or not that company had actually made a
·2· ·commitment to provide the funding to take Tesla private
·3· ·for 420?
·4· · · ·A.· ·I didn't consider that.
·5· · · ·Q.· ·So the way you understood this is that Tesla
·6· ·and Mr. Musk had vetted to make sure that the company
·7· ·had the financial ability to take Tesla private but --
·8· · · ·A.· ·And that -- ok, go ahead.
·9· · · ·Q.· ·-- but that -- but it wasn't saying that that
10· ·company had necessarily committed to making that
11· ·investment?


13· · · ·A.· ·My understanding was that they had an interest
14· ·in purchasing Tesla to take them private and they had
15· ·the financial means to do that.
16· · · ·Q.· ·You said your understanding was that the
17· ·company had an interest in purchasing Tesla to take
18· ·them private and they had the financial means to do
19· ·that.· Did you take from this Tweet, Exhibit 8 here,
20· ·that that company had already made the commitment to do
21· ·that, that is, not only do we have the interest and the
22· ·means but we are going to do it?
23· · · · · ·
24· · · ·A.· ·I believe -- my understanding was they were
25· ·committed to doing it.
       Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 14 of 52

                                                                          Page 65




·9· · · ·Q.· ·I guess what I want to narrow down is, you
10· ·said this a few times and I want to see if this Tweet
11· ·meant anything else to you.· You said and I'm
12· ·reading -- I have a transcript of what you just said
13· ·here, it is called real time.
14· · · · · · "My thinking is for the funding to be secured
15· ·that they would have expressed a strong interest and
16· ·they would have been vetted by Tesla and Tesla would
17· ·have come to the understanding that those funds were
18· ·available."
19· · · · · · Did this Tweet mean anything else to you with
20· ·respect to whether or not the company that was going to
21· ·provide funding had actually made the commitment to do
22· ·so?


24· · · ·A.· ·No, it didn't mean much more than what I've
25· ·already explained.
       Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 15 of 52

                                                                          Page 69




·8· · · ·Q.· ·If as of August 7th, the time of that Tweet,
·9· ·Exhibit 8, as of that time the board of directors was
10· ·still in the process of taking steps to evaluate the
11· ·proposal to take Tesla private at 420, would that in
12· ·your mind make the statements in that Tweet false or
13· ·misleading?
14· · · ·A.· ·I don't think so.
15· · · ·Q.· ·Why not?
16· · · ·A.· ·Because it hadn't been closed yet.
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               Exhibit C
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                                                                          Page 1
 1                 UNITED STATES DISTRICT COURT

 2          FOR THE NORTHERN DISTRICT OF CALIFORNIA

 3                      SAN FRANCISCO DIVISION

 4    IN RE TESLA, INC.,                     Civil Acton No.

 5    SECURITIES LITIGATION                  3:18-cv-04865-EMC

 6

 7                             CONFIDENTIAL

 8
                Virtual Videotape Zoom Deposition
 9                     Of Nii Owuraka Koney
                          July 14, 2021
10                        At 10:00 a.m.

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22   Reported by LeShaunda Cass-Byrd, CSR, RPR

23   TSG Job No. 196498

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       Case 3:18-cv-04865-EMC Document 664 Filed 02/03/23 Page 48 of 52
                                Confidential

                                                                          Page 158
 1        likelihood of a go-private transaction was
 2        not -- was not influenced by -- that's the
 3        wrong word.      I already viewed -- I already
 4        believed that Tesla had the capacity to go
 5        private at that price point.             I was just
 6        adamantly opposed to them going private.
 7   BY MR. GIBBS:
 8       Q.       Understood.       And so to put a finer point on
 9   it, nothing in this August 13th blog post changed your
10   view about the likelihood or the ability of Mr. Musk
11   to arrange financing for a take-private transaction at
12   a price of $420 per share; is that correct?
13       A.       I can't give a -- I can't say definitively,
14   I was not influenced in any way by this blog post.                   My
15   view prior to this blog post was that they had the
16   capacity to do it and also enough cash available for
17   them to go through -- to take the company private.                   I
18   can't go back -- I don't remember my thinking during
19   that period after I read this blog post, what my
20   immediate reaction was.         What I do know with certainty
21   was that I had that view before this blog post.
22       Q.       Okay.    So let me -- let me just try a
23   slightly different word and see if I can get it right.
24                Immediately after Mr. Musk's August 7th
25   tweet about considering taking Tesla private at a


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